Case: 1:16-cv-11057 Document #: 113-1 Filed: 09/04/18 Page 1 of 4 PageID #:1172




             Exhibit A
  Case: 1:16-cv-11057 Document #: 113-1 Filed: 09/04/18 Page 2 of 4 PageID #:1173




                      IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS,EASTERN DIVISION

FPFT,SON PC, an Illinois professional
corporation, individually, and on behalf of
all others similarly situated

Plaintiff,                                           Case No. 1:16-cv-11057

v.                                                   Judge Rebecca Palimeyer

THE BANDAS LAW FIRM PC, a Texas
professional corporation, CHRISTOPHER
BANDAS, an individual, LAW OFFICES
OF DARRELL PALMER PC d/b/a
DARRELL PALMER LAW OFFICE, a
suspended        California   professional
corporation,       JOSEPH      DARIZELL
PALMER,an individual, NOONAN
PERILLO & THUT LTD., an Illinois
corporation, C. JEFFERY THUT, an
individual,    GARY       STEWART, an
individual, and JOHN DOES 1-20,

Defendants.


                                     OFFER OF JUDGMENT


TO:        Via e-mail and By Certified Mail/Return Receipt Requested
           7015 1730 D001 8558 4441
           Jay Edelson
           Benjamin H. Richman
           Rafey S. Balabanian
           Alexander G. Tievsky
           Edelson PC
           350 N. LaSalle Street, 14t1i floor
           Chicago, IL 60654


           Pursuant to Rule 68 ofthe Federal Rules of Civil Procedure, Defendants Christopher

Bandas and the Bandas Law Firm P.C. offer to allow Judgment to be entered against them in this

action finding that they engaged in "the unauthorized practice of law in Illinois" and further that



4517 l 91 v I /31413-0001
 Case: 1:16-cv-11057 Document #: 113-1 Filed: 09/04/18 Page 3 of 4 PageID #:1174




the Court enter an order "enjoining Christopher Bandas and the Bandas Law Firm P.C. from the

further practice of law in Illinois unless and until they obtain authorization from the Supreme

Court of Illinois to practice law," as well as for a judgment for the "costs then accrued," by the

Plaintiffs, to be determined by the Court pursuant' to FRCP 54, not including any attorneys' fees.

                                              Respectfully submitted,

                                              Christopher Bandas and the Bandas Law
                                              Firm, P.C.


                                              By                                     ,~..
                                                   Darren VanPuym       uck,
                                                   One of their attorneys




Darren VanPuymbrouck
Alexander S. Vesselinovitch
Matthew T. Connelly
Freeborn &Peters LLP
311 South Wacker Drive, Suite 3000
Chicago, IL 60606
312-360-6000
d vanpuymbroucic~freeborn.com
avesselinovitch@f:reeborn.com
mcoiulelly@treeborn.com

Dated: August 10, 2018




4517191v1/31413-0001
  Case: 1:16-cv-11057 Document #: 113-1 Filed: 09/04/18 Page 4 of 4 PageID #:1175




                               CERTIFICATE OF SERVICE

          I hereby certify that on August 10, 2018, I served the OFFER OF JUDGMENT to all

counsel of record as noted below:

Via Electronic Mail and
Via Certified Mail/Return Receipt Requested
7015 1730 0001 8558 4441
Jay Edelson
Benjamin H. Richman
Rafey S. Balabanian
Alexander G. Tievsky
Edelson PC
350 N. LaSalle Street, 14t~' floor
Chicago, IL 60654
Email:jedelson@edelson.com;brichman@edelson.com;rbalabanian@edelson.com;
       atievsky@edelson.com;


Chris C. Gair
Kristi Lynn Nelson
Thomas R. Heisler
Gair Eberhard Nelson Dedinas Ltd
1 East Wacker Drive
Suite 2600
Chicago, IL 60601
312-600-4900
chair cr,~airlaw~roup.com
Attorneys for Defendants Noonan Perillo & Thut Ltd. and C. Jeffery Thut




                                                 Darren M. VanPuymbrouck




4517191 v1 /31413-0001
